

Per Curiam.

The defendant did not permit judgment to be taken against her or refuse to plead further. The sustaining of the motion to strike a part of the amended answer, considering such motion as a demurrer, leaves the cause still pending in the trial court. The order of the trial court, considering the motion to strike the second defense from the amended answer as a demurrer and sustaining it, is not a final order from which an appeal may be taken. Holbrook, Admr., v. Connelly, 6 Ohio St., 199.
The judgment of the Court of Appeals is affirmed.

Judgment affirmed.

Weygandt, C. J., Zimmerman, Taet, Matthias and O’Neill, JJ., concur.
Herbert, J., not participating.
